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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



 KELSEY CASCADIA ROSE JULIANA,                 Case No.: 6:15-cv-01517-TC
 et al.,

                Plaintiffs,                    DEFENDANTS’ MOTION IN LIMINE
                                               TO EXCLUDE CERTAIN TESTIMONY
 v.                                            OF SIX EXPERTS AND
                                               MEMORANDUM OF POINTS AND
 The United States of America, et al.,         AUTHORITIES IN SUPPORT
                                               THEREOF
                Defendants.




                                           1
DEFS.’ MOTION IN LIMINE
CONCERNING UNDISPUTED FACTS
                   DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE
                      CERTAIN TESTIMONY OF SIX EXPERTS

        Plaintiffs have estimated that the trial set to commence on October 29 could take up to

eight weeks, a figure which no doubt reflects Plaintiffs’ intent to consume numerous days

presenting expert testimony on issues not in dispute in this case – in particular, the effects of

greenhouse gas (GHG) emissions and climate change. The parties explored these details in

excruciating detail in the lengthy complaint and answer filed in this case. Further exploration at

trial would be unhelpful to the Court as trier of fact and an inefficient use of judicial and party

resources. These concerns may be avoided under either Rule 403 or Rule 702(a) of the Federal

Rules of Evidence, either of which authorizes the Court to exclude such evidence at trial.

        Defendants seek exclusion of this evidence because it pertains to contentions that are

admitted and thus not in dispute. The Court should exclude the evidence because it cannot be

expected to “help the trier of fact to understand the evidence or to determine a fact in issue,” Fed.

R. Evid. 702(a) (emphasis added), and because the probative value of such evidence is

“substantially outweighed by a danger of . . . undue delay, wasting time, or needlessly presenting

cumulative evidence.” Fed. R. Evid. 403. Accordingly, Defendants respectfully request an order

excluding such testimony from trial, as more fully described below.

                                   MEMORANDUM OF LAW

   I.      LEGAL STANDARD

        Rule 702 of the Federal Rules of Evidence sets forth the standard for admissibility of

expert opinion testimony. It provides that a witness who is qualified by “knowledge, skill,

experience, training, or education” may testify in the form of an opinion if, among other things,

“the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to

                                                  2
DEFS.’ MOTION IN LIMINE
CONCERNING UNDISPUTED FACTS
understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702. The trial court acts

as the “gatekeeper” in admitting or excluding proposed expert testimony. In this role, the Court

is charged with

         assuring that expert testimony “rests on a reliable foundation and is relevant to the
         task at hand.” The gatekeeper role “entails a preliminary assessment of whether the
         reasoning or methodology underlying the testimony is . . . valid and of whether
         that reasoning or methodology properly can be applied to the facts in issue.”

United States v. Hermanek, 289 F.3d 1076, 1093 (9th Cir. 2002) (citation omitted) (quoting

Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592–93 (1993)). In addition, under Rule

403, the Court may exclude evidence “if its probative value is substantially outweighed by a

danger of . . . undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R.

Evid. 403.

   II.       ARGUMENT

         The amended complaint in this case, ECF No. 7, consists of ninety-five pages and a host

of allegations, set forth in more than 300 numbered paragraphs. Defendants assessed these

allegations and responded in a seventy-page answer. Their responses include numerous

admissions, many of which demonstrate that the parties, for purposes of this litigation, do not

dispute a great number of the effects of GHG emissions and climate change. See, e.g., Fed.

Defs.’ Answer to First Am. Compl. ¶¶ 202-255, ECF No. 98 (admissions concerning climate

change science and projected impacts). The resolution of complex questions of climate science

at trial is not necessary to dispose of the claims in this lawsuit, nor would opining on such

matters be appropriate in this forum where, for purposes of this litigation, the government’s

answer does not dispute those matters.




                                                  3
DEFS.’ MOTION IN LIMINE
CONCERNING UNDISPUTED FACTS
       Nonetheless, it appears Plaintiffs intend to present lengthy testimony on fact, opinion and

law from six witnesses, specifically, Dr. James E. Hansen, Ph.D., Dr. Ove Hoegh-Guldberg,

Ph.D., Dr. Eric Rignot Ph.D., Dr. Steven W. Running, Ph.D., Dr. Kevin E. Trenberth, Sc.D., and

Dr. Harold R. Wanless. Defendants base this expectation on the nearly 200 pages of fact

testimony, opinion testimony, maps and other graphics, and legal conclusions contained in the

expert reports of these six witnesses. All six witnesses discuss in considerable detail the causes

of climate change and its effects on earth’s natural and biological systems. All six note that

combustion of fossil fuels produces carbon dioxide (CO2) and other GHGs, which cause global

warming. All six discuss the effects of global warming, variously including polar ice melt,

earlier annual snow melt, reduced snow pack, sea-level rise, sea temperature increases, threats to

coastal cities, adverse impacts to coral reefs and the life forms they support, more powerful

storms and hurricanes, wildfires, drought, floods, and a variety of other impacts. The answer

acknowledges all of these effects for purpose of this litigation.

       The trial judge has discretion to determine whether expert testimony is admitted, see

United States v. Rincon, 28 F.3d 921, 925 (9th Cir. 1994), and “may exclude testimony even if it

satisfies the test set forth in” Daubert, 509 U.S. at 592–93. United States v. Strode, No. 99-

30074, 2000 WL 890740, at *2 (9th Cir. 2000). Further, “even if otherwise admissible under

Rule 702, expert testimony ‘may be excluded if its probative value is substantially outweighed

. . . by considerations of undue delay, waste of time, or needless presentation of cumulative

evidence.’” Perfect 10, Inc. v. Giganews, Inc., No. CV 11-07098-AB (SHX), 2014 WL

10894452, at *3 (C.D. Cal. Oct. 31, 2014) (quoting Fed. R. Evid. 403).

       The Court should exercise its discretion here by excluding any testimony reflected in the

six reports that is cumulative or that relates to matters not in dispute. As to the former, Rule 403
                                                  4
DEFS.’ MOTION IN LIMINE
CONCERNING UNDISPUTED FACTS
permits the Court to exclude needlessly cumulative testimony that has little incremental value.

United States v. Miguel, 87 Fed.Appx. 67, 68-69 (9th Cir. 2004). “Cumulative evidence

replicates other admitted evidence.” United States v. Ives, 609 F.2d 930, 933 (9th Cir. 1979). A

witness’s testimony may be needlessly cumulative if a party presents evidence bearing on the

same point through other witnesses. Rogers v. Raymark Indus., Inc., 922 F.2d 1426, 1430 (9th

Cir. 1991) (affirming district court’s decision to exclude witness testimony that had little

probative value and was cumulative). As to the latter, courts have also excluded evidence

relating to matters not in dispute. See Thames v. Miller, No. CV04-00644 DAE/LEK, 2007 WL

1303014, at *3 (D. Haw. May 2, 2007), aff’d, 334 F. App’x 136 (9th Cir. 2009) (granting

defendant’s motion in limine to preclude plaintiff from producing any testimony or evidence

pertaining to a property that was not in dispute); see also Diviero v. Uniroyal Goodrich Tire Co.,

114 F.3d 851, 853 (9th Cir. 1997) (affirming district court decision to exclude evidence that

would not assist the trier of fact); ” Little Oil Co., Inc. v. Atlantic Richfield Co., 852 F.2d 441,

446 (9th Cir. 1988) (noting that to be admissible, the trier of fact must “receive ‘appreciable

help’”) (citations omitted). Here, the presentation of expert testimony at trial concerning the

effects of GHG emissions and climate change cannot be expected to help the trier of fact to

understand the evidence or determine a fact in issue.

        In light of Defendants’ admissions, numerous assertions by Plaintiffs concerning effects

of GHG emissions and climate change are not in dispute for purposes of this litigation.

Testimony concerning these matters will not help the Court determine any facts in issue and

would needlessly expend the Court’s and the parties’ resources, while defeating the goal of

judicial economy. For that reason, Plaintiffs’ proposed expert testimony on those issues is not

necessary to help this Court “understand the evidence or to determine a fact in issue,” Fed. R.
                                                   5
DEFS.’ MOTION IN LIMINE
CONCERNING UNDISPUTED FACTS
Evid. 702, and its probative value “is substantially outweighed by a danger of . . . undue delay,

wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403. The testimony

should be precluded.

   III.      CONCLUSION

          The interests of justice and judicial economy will be served by avoiding the wasteful,

time-consuming presentation of cumulative evidence concerning facts not in issue. Accordingly,

this Court should enter an order in limine excluding at trial any testimony concerning the facts

that Defendants have admitted in their Answer for purposes of this litigation.

 Dated: October 15, 2018                              Respectfully submitted,

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                                                  6
DEFS.’ MOTION IN LIMINE
CONCERNING UNDISPUTED FACTS
